                                                                                      Case 2:18-cv-01552-JAD-DJA Document 39 Filed 12/07/21 Page 1 of 2



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                                                                                                                UNITED STATES DISTRICT COURT
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




                                                                                 10
                                                                                                                          DISTRICT OF NEVADA
                                                                                 11
                                            100 North City Parkway, Suite 1600
                                                Las Veg as, NV 89106-4614




                                                                                 12    RALPH ORTEGA,                                  Case No. 2:18-cv-01552-JAD-DJA
                                                      702.382.2101




                                                                                 13                         Plaintiffs,

                                                                                 14    v.                                             STIPULATION AND ORDER TO
                                                                                                                                      DISMISS WITH PREJUDICE CREDIT
                                                                                 15    CREDIT ONE BANK, N.A.; and TRANS               ONE BANK, N.A.
                                                                                       UNION, LLC,
                                                                                 16
                                                                                                            Defendants.                       ECF No. 38
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                                                                                  1                                            STIPULATION

                                                                                  2           Plaintiff Ralph D. Ortega (“Plaintiff”) and Defendant Credit One Bank, N.A. (“Credit One”)

                                                                                  3   (collectively, the “Parties”), by and through their counsel of record, hereby agree and stipulate to

                                                                                  4   dismiss with prejudice all claims asserted against Credit One Bank, N.A., with each part to bear its

                                                                                  5   or his own respective attorney’s fees and costs of suit.

                                                                                  6           This stipulation shall not affect any claims asserted by Plaintiff against any other party to

                                                                                  7   this action.

                                                                                  8    DATED this 7th day of December, 2021.                DATED this 7th day of December, 2021.

                                                                                  9
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




                                                                                 10    /s/ Craig K. Perry                                   /s/ Patrick J. Reilly
                                                                                       Craig K. Perry                                        Patrick J. Reilly
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                                                                                       North Las Vegas, NV 89031
                                                                                 13                                                         Attorneys for Credit One Bank, N.A.
                                                                                       Attorneys for Plaintiff
                                                                                 14

                                                                                 15                                                 ORDER
                                                                                 16       Based on the stipulation between PlaintiffIT
                                                                                                                                     and
                                                                                                                                       IS Credit One Bank, N.A. [ECF No. 38], which I
                                                                                                                                          SO ORDERED.
                                                                                      construe as a joint motion under Local Rule 7-1(c) because it was signed by fewer than all the
                                                                                 17
                                                                                      parties or their attorneys, and with good cause appearing, IT IS HEREBY ORDERED that ALL
                                                                                 18   CLAIMS AGAINST Credit One Bank, N.A. ____________________________________
                                                                                                                                    are DISMISSED with prejudice, each side to bear its
                                                                                      own fees and costs.                           UNITED STATES DISTRICT COURT JUDGE
                                                                                 19
                                                                                                                                    _________________________________
                                                                                                                                    Dated:______________________________
                                                                                 20                                                 U.S. District Judge Jennifer A. Dorsey
                                                                                 21                                                 Dated: December 7, 2021

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